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                               Fig. 3




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                               Fig. 4




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                               Fig. 5




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                              Fig. 20




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